                 IN THE DISTRICT COURT OF THE UNITED STATES
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            BRYSON CITY DIVISION

                                  CRIMINAL NO. 2:05CR3-3


UNITED STATES OF AMERICA                      )
                                              )
                                              )
               VS.                            )              ORDER
                                              )
                                              )
RICHARD JAMES TEESATUSKI                      )
                                              )


       THIS MATTER is before the Court on the Defendant’s motion for notification of the

Government’s intent to seek cross application of the murder guidelines to this case and for

discovery relating to such application.

       The Court has reviewed the Government’s objection to the presentence report and finds

that it is not supported by any case law showing it would be entitled to a cross application of the

murder guideline. Especially in view of recent Supreme Court decisions, such authority is

necessary.

       IT IS, THEREFORE, ORDERED that the Government file response to the Defendant’s

motion within 15 days from entry of this Order.




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                        Signed: July 18, 2005




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